    Case 1:21-cr-00041-JL Document 321-17 Filed 07/17/23 Page 1 of 2




                       TD Bank – F           – 2980
Deposit Source   Transactions        Total            Connection to Business

    Cash              608       $1,956,858.27
   TOTAL                        $1,956,858.27

                                PAYEES
        Payee                    Count                         Total
    Ian Freeman                   40                      -$2,042,563.00
  Shire Free Church                4                       -$154,074.00
       TOTAL                                              -$2,196,637.00
             Case 1:21-cr-00041-JL Document 321-17 Filed 07/17/23 Page 2 of 2


Summary of Deposit Sources
C         M. F
TD Bank Convenience Checking Account 2980
September 2018 - October 2019 (closed)
Deposit Source                     Count Total Deposited    Percentage of Total
Cash                                608     $1,956,858.27         84.69%
C     , L L.                         1         $13,000.00          0.56%
C           ,D                       1          $1,650.00          0.07%
Deposit Correction                   1          $1,000.00          0.04%
F        ,M                          2          $6,000.00          0.26%
F          ,C         M.             3         $82,154.85          3.56%
Freeman, Ian                         1          $2,000.00          0.09%
Illegible                            1          $1,005.00          0.04%
Illgible, L                          1            $900.00          0.04%
J         ,J                         2         $18,997.82          0.82%
K ,D            D.                   1          $9,000.00          0.39%
L      ,L                            2         $36,000.00          1.56%
M        ,K                          1          $9,875.00          0.43%
M        ,K          P. B            1          $6,985.00          0.30%
M           ,J                       1          $8,000.00          0.35%
O        ,P                          1          $2,000.00          0.09%
R       ,D                           4         $34,000.00          1.47%
Returned Check                       2         $96,447.00          4.17%          *
S              J                     1            $990.00          0.04%
S       ,D       F.                  1          $6,200.00          0.27%
T          ,J                        2          $2,840.00          0.12%
V ,R              (Returned)         1         $11,000.00          0.48%          *
Y       ,W        F.                 1          $3,800.00          0.16%
Grand Total                         640     $2,310,702.94        100.00%
*Less returned checks/deposit item            $107,447.00
Adjusted Grand Total                        $2,203,255.94

Summary of Payees
C        M. F
TD Bank Convenience Checking Account 2980
September 2018 - October 2019 (closed)
Payee                              Count Total Paid     Percentage of Total
Account Closed                       1         -$229.99          0.01%
Bank Fee                             7         -$155.00          0.01%
Deposited Check Returned             1      -$11,000.00          0.48%            *
Digital Federal Credit               1          -$25.00          0.00%
F        ,C       M.                 1          -$55.00          0.00%
Freeman, Ian                        37   -$1,799,936.00         77.90%
Freeman, Ian (Returned)              1      -$70,271.00          3.04%            *
Freeman, Ian B.                      3     -$242,627.00         10.50%
H        C      Chk                  1          -$11.95          0.00%
Route 101 Goods LLC                  5       -$6,142.00          0.27%
Shire Free Church                    4     -$154,074.00          6.67%
Shire Free Church (Returned)         1      -$26,176.00          1.13%            *
Grand Total                         63   -$2,310,702.94        100.00%
*Less Returned Checks/deposit item         -$107,447.00
Adjusted Grand Total                     -$2,203,255.94




as of November 7, 2022
